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 6 Additional Counsel on Signature Page

 7

 8
 9
                              UNITED STATES DISTRICT COURT
10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

11 BRENT CAREY and BENJAMIN D. ZEIGLER,                   Case No.:
12 individually and on behalf of themselves and all       CLASS ACTION COMPLAINT FOR:
   others similarly situated,
13                                                         1.   NEGLIGENCE;
                              Plaintiffs,
14                                                         2.   VIOLATION OF THE
           vs.                                                  FRAUDULENT, UNLAWFUL, AND
15                                                              UNFAIR PRONGS OF THE UCL;
                                                                and
16 WELLS FARGO BANK N.A.,
                                                           3.   VIOLATION OF CALIFORNIA’S
17                                                              CONSUMER PRIVACY ACT;
                             Defendant.
18
                                                          JURY TRIAL DEMANDED
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 1              Plaintiffs BRENT CAREY and BENJAMIN D. ZEIGLER (the “Plaintiffs”) bring this Class Action

 2 Complaint (the “Action”) against Defendant WELLS FARGO BANK N.A. (“Defendant” or “Wells

 3
     Fargo”) and alleges upon personal knowledge as to themselves and their own actions, and upon
 4
     information and belief, including the investigation of counsel as follows:
 5
                                                NATURE OF THE ACTION
 6
                1.       This Class Action arises out of the December 31, 2021 exfiltration of consumer data
 7

 8 by a former employee at one of the largest banks in the United States, Wells Fargo (hereinafter, the

 9 “Data Breach”). 1
10              2.       Wells Fargo failed to reasonably secure and maintain personally identifiable
11
     information provided and entrusted to it by consumers, inclusive of Plaintiffs and the members of
12
     the Class – this PII includes consumers’ names, addresses, phone numbers, email addresses, dates
13
     of birth, and Social Security numbers (collectively, the “PII”). 2
14

15              3.       Wells Fargo, which has suffered multiple data breaches over the past year alone, has

16 not been entirely transparent or is woefully uninformed about the specifics of the Data Breach.

17 Wells Fargo either does not know or does not disclose the following critical information related to

18 the Data Breach: (1) how the breach occurred (specifically, how the former Wells Fargo employee

19
   was able to gain access to files containing PII); (2) what remedial steps were taken to secure Wells
20
   Fargo’s networks to prevent future data breaches; (3) whether the files were recovered from the
21
   former Wells Fargo employee; and (4) when Wells Fargo discovered that the PII related to the Data
22

23 Breach was stolen by the former Wells Fargo employee. To compound matters, Wells Fargo failed

24 to communicate to victims that a Data Breach had occurred for over five months from when the

25 former Wells Fargo employee committed the theft of the PII at-issue.

26

27
     1
         Wells Fargo, which is headquartered in San Francisco, California and has major branch offices in Charlotte, North
28 Carolina and New York, New York, services consumers across the entirety of the United States.
     2
      Notice of Data Breach letter: https://oag.ca.gov/system/files/421286_final_redacted.pdf. (“Notice”)
                                                                 2
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 1          4.       Consequently, Plaintiffs and members of the Class suffered present injury and

 2 damages including identity theft, loss of value of their PII, out-of-pocket expenses and the value of

 3
     their time reasonably incurred to mitigate, combat, or remedy the effects of the unauthorized access
 4
     and exfiltration of their highly sensitive and personal information.
 5
            5.       By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiffs and
 6

 7 Class Members, Defendant assumed legal and equitable duties to those individuals to protect and

 8 safeguard that information from unauthorized access and intrusion. Defendant’s conduct in

 9 breaching these duties amounts to negligence and/or recklessness and violates federal and state
10 statutes.

11
            6.       Plaintiffs bring this action on behalf of all persons whose PII was compromised as a
12
     result of Defendant’s failure to take reasonable steps to protect that PII and to warn Plaintiffs and
13
     Class Members of Defendant’s inadequate information security practices. Defendant disregarded
14

15 the rights of Plaintiffs and Class Members by knowingly failing to implement and maintain

16 adequate and reasonable measures to ensure that their PII was safeguarded, failing to take available

17 steps to prevent unauthorized disclosure of PII, and failing to follow applicable, required, and

18
     appropriate protocols, policies, and procedures regarding the encryption of data, especially for
19
     internal use.
20
            7.       As a direct and proximate result of Defendant’s data security failures and the Data
21
     Breach, the PII of Plaintiffs and Class Members was compromised, and Plaintiffs and Class
22

23 Members have suffered actual, present, concrete injuries. These injuries include: (i) the current and

24 imminent risk of fraud and identity theft (ii) lost or diminished value of PII ; (iii) out-of-pocket

25 expenses associated with the prevention, detection, and recovery from identity theft, tax fraud,

26
     and/or unauthorized use of their PII; (iv) lost opportunity costs associated with attempting to
27
     mitigate the actual consequences of the Data Breach, including but not limited to lost time; and (v)
28
     the continued and certainly increased risk to their PII, which: (a) remains unencrypted and available
                                                        3
     CLASS ACTION COMPLAINT
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 1 for unauthorized third parties to access and abuse; and (b) may remain backed up in Defendant’s

 2 possession and is subject to further unauthorized disclosures so long as Defendant fails to undertake

 3
     appropriate and adequate measures to protect the PII; (vi)        the invasion of privacy; (vii) the
 4
     compromise, disclosure, theft, and unauthorized use of Plaintiffs’ and the Class Members’ PII; and
 5
     (viii) emotional distress, fear, anxiety, nuisance and annoyance related to the theft and compromise
 6

 7 of their PII.

 8          8.      Plaintiffs and Class Members seek to remedy these harms and prevent any future

 9 data compromise on behalf of themselves and all similarly situated persons whose personal data
10 was compromised and stolen as a result of the Data Breach and remains at risk due to Defendant’s

11
     inadequate data security practices and failure to properly train and monitor its employees.
12
            9.      Plaintiffs and Class Members have a continuing interest in ensuring that their
13
     information is and remains safe, and they should be entitled to injunctive and other equitable relief.
14

15                 JURISDICTION, VENUE AND INTRADISTRICT ASSIGNMENT

16          10.     This Court has jurisdiction pursuant to the Class Action Fairness Act because: (1) at

17 least one putative Class Member is a resident of a different state than Defendant’s domicile or place

18 of incorporation (namely, Plaintiff Carey is a South Carolina resident whereas Defendant’s principal

19
   place of business is located in California); (2) there are thousands of putative Class Members; and
20
   (3) the amount-in-controversy exceeds $5,000,000.
21
           11.    Personal jurisdiction is appropriate over Defendant because Wells Fargo transacts,
22

23 directs, and maintains business in California, and because Wells Fargo maintains consumer

24 relationships with California consumers via Wells Fargo’s numerous branch locations in California

25 – which means, collectively, that Wells Fargo maintains a systematic and continuous presence in

26
     California.
27

28

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 1          12.     Venue is proper in the Northern District of California because Wells Fargo maintains

 2 corporate offices in this District, and a substantial part of the acts or omissions complained of herein

 3
     occurred in this District
 4
            13.     This Action is properly assigned to the San Francisco Division of this District
 5
     pursuant to N.D. Cal. L.R. 3-2, because Defendant maintains corporate offices in San Francisco,
 6

 7 which is served by the San Francisco Division of this District.

 8                                                PARTIES

 9          Plaintiff Brent Carey
10          14.     Plaintiff Carey is, and at all relevant times has been, a resident and citizen of the
11
     state of South Carolina.
12
            15.     Plaintiff received a Notice of Data Breach letter on May 6, 2022, which informed
13
     him that there was an “incident that may affect the security of [his] personal information.”
14

15 According to Wells Fargo, the type of data at issue included Plaintiff’s name, address, phone

16 number, email address, date of birth, and Social Security number – however, Defendant prefaced

17 this information with the statement that the information “impacted from person to person.”

18
     Defendant asked Plaintiff to sign up for credit monitoring services – implying that the PII at issue is
19
     not only at risk of being exposed, but used to commit identity theft and financial fraud.
20
            16.     Defendant obtained and continues to maintain Plaintiff’s and Class Members’ PII
21
     and has a continuing legal duty and obligation to protect that sensitive information from
22

23 unauthorized access and disclosure. Defendant required that Plaintiff provide and entrust to it his

24 PII as a condition of receiving financial services. Plaintiff would not have entrusted his PII to

25 Defendant had he known that it would fail to maintain adequate data security. Plaintiff’s PII was

26
     compromised and disclosed to an unauthorized party as a result of the Data Breach.
27

28

                                                       5
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 1           Plaintiff Benjamin D. Zeigler

 2           17.     Plaintiff Zeigler is, and at all relevant times has been, a resident and citizen of the
 3
     state of California.
 4
             18.     Plaintiff received a Notice of Data Breach letter on May 6, 2022, which informed
 5
     him that there was an “incident that may affect the security of [his] personal information.”
 6

 7 According to Wells Fargo, the type of data at issue included Plaintiff’s name, address, phone

 8 number, email address, date of birth, and Social Security number – however, Defendant prefaced

 9 this information with the statement that the information “impacted from person to person.”
10 Defendant asked Plaintiff to sign up for credit monitoring services – implying that the PII at issue is

11
     not only at risk of being exposed, but used to commit identity theft and financial fraud.
12
             19.     Defendant obtained and continues to maintain Plaintiff’s and Class Members’ PII
13
     and has a continuing legal duty and obligation to protect that sensitive information from
14

15 unauthorized access and disclosure. Defendant required that Plaintiff provide and entrust to it his

16 PII as a condition of receiving financial services. Plaintiff would not have entrusted his PII to

17 Defendant had he known that it would fail to maintain adequate data security. Plaintiff’s PII was

18
     compromised and disclosed to an unauthorized party as a result of the Data Breach.
19
             The Wells Fargo Defendants
20
                     Defendant Wells Fargo Bank N.A.
21
             20.     Defendant Wells Fargo Bank N.A. is a nationally chartered bank with its principal
22

23 place of business located at 420 Montgomery Street, San Francisco, California.

24                                       FACTUAL ALLEGATIONS

25           Wells Fargo’s Business
26
             21.     According to Wells Fargo’s 2021 Annual Report filed with the Securities and
27
     Exchange Commission, Wells Fargo is:
28

                                                        6
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 1                  [Wells Fargo is] a leading financial services company that provides a

 2           diversified set of banking, investment and mortgage products and services, as well as
 3
             consumer and commercial finance, through banking locations and offices, the
 4
             internet (www.wellsfargo.com) and other distribution channels to individuals,
 5
             businesses and institutions in all 50 states, the District of Columbia and in countries
 6
             outside the U.S. We provide consumer financial products and services including
 7

 8           checking and savings accounts, credit and debit cards, and auto, mortgage and home

 9           equity, and small business lending. In addition, we offer financial planning, private
10           banking, investment management, and fiduciary services. We also provide financial
11
             solutions to businesses through products and services including traditional
12
             commercial loans and lines of credit, letters of credit, asset- based lending, trade
13
             financing, treasury management, and investment banking services. 3
14

15

16           22.      On Wells Fargo’s website (wellsfargo.com), Defendant publishes its privacy

17 policies. 4 One such policy, the Wells Fargo U.S. Consumer Privacy Notice, describes what Wells

18
     Fargo does with the PII that Defendant collects from consumers. 5 Under a subheading on the Wells
19
     Fargo U.S. Consumer Privacy Notice, Wells Fargo states, “[t]o protect your personal information
20
     from unauthorized access and use, we use security measures that comply with federal law. These
21
     measures include computer safeguards and secured files and buildings.” 6
22

23           23.      However, with respect to the Data Breach alleged herein, Wells Fargo failed to

24 comply with federal law and failed to use adequate security measures to protect PII from

25 unauthorized access and use. Had Defendant used proper “computer safeguards and secured files”

26

27   3
       Wells Fargo & Company, S.E.C. Form 10-k (2021), at https://www.wellsfargo.com/about/investor-relations/filings/.
     4
       https://www.wellsfargo.com/privacy-security/, (last accessed Aug. 2, 2022).
28   5
       https://www.wellsfargo.com/privacy-security/individuals/, (last accessed Aug. 2, 2022).
     6
       Id.
                                                                 7
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 1 this Data Breach would have been prevented and no intelligible data would have been exfiltrated

 2 from Wells Fargo’s custody.

 3
            24.     Plaintiffs and members of the putative Class are currently or were formerly clients of
 4
     Defendant whose PII was required to be provided, and was in fact provided, to Defendant in
 5
     conjunction with the banking and financial services that Defendant offers as part of its regular
 6

 7 business activities. Plaintiffs and Class Members were required to fill out loan applications, credit

 8 authorizations, and other forms associated with the banking services that Defendant provides and

 9 which demanded consumers’ PII as a precondition.
10          25.     Plaintiffs and members of the putative Class, as current or former consumers of
11
     Defendant, reasonably relied (directly or indirectly) on this highly sophisticated financial institution
12
     to keep their sensitive PII confidential; to maintain its system security; to use this information for
13
     business purposes only; and to make only authorized disclosures of their PII.
14

15          26.     Wells Fargo had a duty to adopt reasonable measures to protect Plaintiffs’ and Class

16 Members’ PII from unauthorized disclosure to third parties.

17          The Data Breach
18
            27.     In May of 2022, Wells Fargo began notifying Class Members and state AGs about
19
     the widespread data breach of its computer systems involving the sensitive PII of consumers.
20
     According to Wells Fargo, the breach occurred five months earlier, on December 31, 2021.
21
            28.     According to its Notice letters:
22

23          On December 31, 2021, a Wells Fargo employee emailed an encrypted file to his
            personal email address. The file contained your personal information. As soon as we
24          became aware of the incident, we began our internal investigation process to identify
            the information impacted and the individuals to whom that information belongs. The
25          employee no longer works for Wells Fargo.

26          29.     Subsequently, Wells Fargo informed victims of the Data Breach that the information

27 compromised includes: names, addresses, phone numbers, email addresses, dates of birth, and

28 Social Security numbers.

                                                        8
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 1          30.     Wells Fargo either does not know or does not disclose the following critical

 2 information related to the Data Breach: (1) how the breach occurred (specifically, how the former

 3
     Wells Fargo employee was able to gain access to unencrypted files containing PII); (2) what
 4
     remedial steps were taken to secure Wells Fargo’s networks to prevent future data breaches; (3)
 5
     whether the files were recovered from the former Wells Fargo employee; and (4) when Wells Fargo
 6

 7 discovered that the PII related to the Data Breach was stolen by the former Wells Fargo employee.

 8 To compound matters, Wells Fargo failed to communicate that a breach had occurred for over five

 9 months from the date when the former Wells Fargo employee committed the theft of the PII at-issue
10 and from when Wells Fargo discovered the Data Breach.

11
            31.     As evidenced by the fact that an employee could access and exfiltrate the PII, the PII
12
     was not encrypted prior to the data breach and Wells Fargo did not have sufficient safeguards in
13
     place to immediately detect and prevent the unauthorized exfiltration of Plaintiffs’ and Class
14

15 Members' PII from its systems.

16          32.     The Notice also states that Wells Fargo is offering victims of the Data Breach two-

17 years of identity theft detection from Experian IdentityWorks. With its offer of credit and identity

18
     monitoring services, Wells Fargo is acknowledging that the impacted persons are subject to an
19
     imminent threat of identity theft and financial fraud. The Notice includes a page that gives advice to
20
     victims on “Tips to Protect Your Personal Information,” further evidencing Wells Fargo’s
21
     understanding of the consequences likely to result from the Data Breach.
22

23          33.     Wells Fargo had obligations created by contract, industry standards, common law,

24 and representations made to its customers, including Plaintiffs and Class Members, to keep their PII

25 that was entrusted to Wells Fargo confidential and to protect the PII from unauthorized access,

26
     exfiltration, and disclosure.
27
            34.     Plaintiffs and Class Members provided their PII to Wells Fargo with the reasonable
28
     expectation that Wells Fargo as a bank/financial services firm would comply with its duty and
                                                       9
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 1 obligations and representations to keep such information confidential and secure from unauthorized

 2 access.

 3
             35.    Plaintiffs and Class Members provided their PII to Wells Fargo and Wells Fargo
 4
     accepted the PII with the mutual understanding that Wells Fargo would employ reasonable security
 5
     practices and adequately monitor its employees to prevent the unauthorized access, exfiltration, and
 6

 7 disclosure of their PII

 8           36.    Wells Fargo failed to uphold its data security obligations to Plaintiffs and Class

 9 Members. As a result, Plaintiffs and Class Members are significantly harmed and will be at a high
10 risk of identity theft and financial fraud for many years to come.

11
             37.    Wells Fargo did not use reasonable security procedures and practices appropriate to
12
     the nature of the sensitive, unencrypted information it was maintaining, causing Plaintiff’s and
13
     Class Members’ PII to be exposed.
14

15           Securing PII and Preventing Breaches

16           38.    Wells Fargo could have prevented this Data Breach by properly encrypting or

17 otherwise protecting their equipment and computer files containing PII. Wells Fargo could also

18
     have prevented and/or timely detected this Data Breach by properly monitoring its employees, their
19
     access unencrypted PII, and by monitoring their email and communication systems for suspicious
20
     activity.
21
             39.    To be sure, collection, maintaining, and protecting PII is vital to virtually all of Wells
22

23 Fargo’s business purposes as a bank/financial services firm. Wells Fargo acknowledged through its

24 conduct and statements that the misuse or inadvertent disclosure of PII can pose major privacy and

25 financial risks to impacted individuals, and that under state law they may not disclose and must take

26
     reasonable steps to protect PII from improper release or disclosure.
27

28

                                                        10
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 1           The Data Breach Was A Foreseeable Risk of Which Defendant Was On Notice

 2           40.      It is well known that PII, including Social Security numbers and financial account
 3
     information in particular, is an invaluable commodity and a frequent target of hackers. It is further
 4
     well known that employees may intentionally or inadvertently disclose PII. In 2012 a disgruntled
 5
     employee of EnerVest Operating, LLC locked the company’s IT infrastructure and prevented access
 6
                  7
 7 to the network. In 2020, Shopify reported a data breach involving the theft of PII from 200 of its

 8 merchants by two of its employees who “were engaged in a scheme to obtain customer transactional

 9 records of certain merchants.” 8 In Similarly, former Twitter employee was recently convicted of
10 providing a foreign government with the “email addresses, phone numbers and other private data of

11
     people who had used Twitter to anonymously criticize Saudi Arabia.” 9
12
             41.      Data breaches in and of themselves are a known threat to sophisticated companies
13
     like Wells Fargo. In 2019, a record 1,473 data breaches occurred, resulting in approximately
14
                                                                          10
15 164,683,455 sensitive records being exposed, a 17% increase from 2018.

16           42.      Of    the    1,473     recorded     data    breaches,      108    of    them     were     in    the

17 banking/credit/financial industry, with the number of sensitive records being exposed exceeding

18 100 million. In fact, over 62% of the 164 million sensitive records exposed in data breaches in 2019

19
   were exposed in those 108 breaches in the banking/credit/financial sector. 11
20
          43.     The 108 reported financial sector data breaches reported in 2019 exposed
21
   100,621,770 sensitive records, compared to 2018 in which only 1,778,658 sensitive records were
22
                                         12
23 exposed in financial sector breaches.

24

25   7
       https://www.justice.gov/usao-sdwv/pr/enervest-computer-attack-draws-four-year-federal-sentence
     8
       https://community.shopify.com/c/shopify-discussions/incident-update/m-p/888971
26   9
       https://www.forbes.com/sites/joewalsh/2022/08/09/ex-twitter-employee-convicted-of-sending-private-data-to-saudi-
     government/?sh=14770382d062
27   10
        https://www.idtheftcenter.org/wp-content/uploads/2020/01/01.28.2020_ITRC_2019-End-of-Year-Data-Breach-
     Report_FINAL_Highres-Appendix.pdf (last accessed December 10, 2021)
28   11
        Id.
     12
        Id at p. 15.
                                                              11
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 1          44.     Individuals place a high value not only on their PII, but also on the privacy of that

 2 data. For the individual, identity theft causes “significant negative financial impact on victims” as

 3
     well as severe distress and other strong emotions and physical reactions.
 4
            45.     Individuals are particularly concerned with protecting the privacy of their social
 5
     security numbers, which are the “secret sauce” that is “as good as your DNA to hackers.” There are
 6

 7 long-term consequences to data breach victims whose social security numbers are taken and used by

 8 hackers. Even if they know their social security numbers have been accessed, Plaintiffs and Class

 9 Members cannot obtain new numbers unless they become a victim of Social Security number
10 misuse. Even then, the Social Security Administration has warned that “a new number probably

11
     won’t solve all [] problems … and won’t guarantee … a fresh start.”
12
            46.     In light of recent high profile data breaches at other industry leading companies,
13
     including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June
14

15 2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January 2020),

16 Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion records, May

17 2020), and, in light of the recent data breaches Wells Fargo has suffered, Defendant knew or should

18
     have known that its electronic records would be targeted by cybercriminals.
19
            47.     Indeed, cyberattacks have become so notorious that the FBI and U.S. Secret Service
20
     have issued a warning to potential targets so they are aware of and take appropriate measures to
21
     prepare for and are able to thwart such an attack.
22

23          48.     Despite the prevalence of public announcements of data breach and data security

24 compromises, and despite its own acknowledgments of data security compromises, and despite their

25 own acknowledgment of its duties to keep PII private and secure, Wells Fargo failed to take

26
     appropriate steps to protect the PII of Plaintiffs and the proposed Class from being compromised.
27

28

                                                          12
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 1          Wells Fargo Had A Duty to Plaintiffs and Class Members to Secure Their PII

 2          49.     At all relevant times, Defendant had a duty to Plaintiffs and Class Members to
 3
     properly secure their PII, encrypt and maintain such information using industry standard methods,
 4
     train and monitor its employees, utilize available technology to defend its systems from invasion,
 5
     act reasonably to prevent foreseeable harm to Plaintiffs and Class Members, and to promptly notify
 6

 7 Plaintiffs and Class Members when Wells Fargo became aware that their PII may have been

 8 compromised. Instead, Defendant did not notify victims until over five months after the Data

 9 Breach first occurred.
10          50.     Defendant’s duty to use reasonable security measures arose as a result of the special
11
     relationship that existed between Defendant, on the one hand, and Plaintiffs and the Class Members,
12
     on the other hand. The special relationship arose because Plaintiffs and the Members of the Class
13
     entrusted Defendant with their PII when they entrusted Wells Fargo to provide banking and
14

15 financial services.

16          51.     Defendant had the resources necessary to prevent the Data Breach but neglected to

17 adequately invest in security measures, despite its obligation to protect such information.

18
     Accordingly, Defendant breached its common law, statutory, and other duties owed to Plaintiffs and
19
     Class Members.
20
            52.     Security standards commonly accepted among businesses that store PII using the
21
     internet include, without limitation:
22

23          a.      Maintaining a secure firewall configuration;

24          b.      Maintaining appropriate design, systems, and controls to limit user access to certain

25          information as necessary;
26
            c.      Monitoring for suspicious or irregular traffic to servers;
27
            d.      Monitoring for suspicious credentials used to access servers;
28
            e.      Monitoring for suspicious or irregular activity by known users;
                                                       13
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 1            f.       Monitoring for suspicious or unknown users;

 2            g.       Monitoring for suspicious or irregular server requests;
 3
              h.       Monitoring for server requests for PII;
 4
              i.       Monitoring for server requests from VPNs; and
 5
              j.       Monitoring for server requests from Tor exit nodes.
 6
              53.      The Federal Trade Commission (“FTC”) defines identity theft as “a fraud committed
 7
                                                                                       13
 8 or attempted using the identifying information of another person without authority.” The FTC

 9 describes “identifying information” as “any name or number that may be used, alone or in
10 conjunction with any other information, to identify a specific person,” including, among other

11
     things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s
12
     license or identification number, alien registration number, government passport number, employer
13
     or taxpayer identification number.” 14
14

15            54.      The ramifications of Defendant’s failure to keep its consumers’ PII secure are long

16 lasting and severe. Once PII is stolen, particularly Social Security numbers, fraudulent use of that

17 information and damage to victims is likely to continue for years.

18            The Value of Personally Identifiable Information
19
              55.      The PII of consumers remains of high value to criminals, as evidenced by the prices
20
     they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity
21
     credentials. For example, personal information can be sold at a price ranging from $40 to $200, and
22
                                                  15
23 bank details have a price range of $50 to $200. According to the Dark Web Price Index for 2021,

24 payment card details for an account balance up to $1,000 have an average market value of $150,

25 credit card details with an account balance up to $5,000 have an average market value of $240,

26
     13
        17 C.F.R. § 248.201 (2013).
27   14
        Id.
     15
         Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16, 2019, available
28   at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/ (last accessed
     December 10, 2021).
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 1 stolen online banking logins with a minimum of $100 on the account have an average market value

 2 of $40, and stolen online banking logins with a minimum of $2,000 on the account have an average

 3
     market value of $120. 16
 4
             56.      As a growing number of federal courts have begun to recognize the Loss of Value of
 5
     PII as a viable damages theory, the sale of PII from data breaches, as in the Data Breach alleged
 6
     herein, is particularly harmful to data breach victims – especially when it takes place on the dark
 7

 8 web.

 9           57.      Plaintiffs and Class Members’ PII is a valuable commodity, a market exists for
10 Plaintiffs and Class Members’ PII (which is why the Data Breach was perpetrated in the first place),

11
     and Plaintiffs and Class Members’ PII is being likely being sold by hackers on the dark web (as that
12
     is the modus operandi of data thieves) – as a result, Plaintiffs and Class Members have lost the
13
     value of their PII, which is sufficient to plausibly allege injury arising from a data breach.
14

15           58.      The PII stolen in this specific Data Breach was particularly harmful.

16           59.      Social Security numbers, for example, are among the worst kind of personal

17 information to have stolen because they may be put to a variety of fraudulent uses and are difficult

18
     for an individual to change. The Social Security Administration stresses that the loss of an
19
     individual’s Social Security number, as is the case here, can lead to identity theft and extensive
20
     financial fraud:
21
                      A dishonest person who has your Social Security number can use it to get other
22                    personal information about you. Identity thieves can use your number and your good
                      credit to apply for more credit in your name. Then, they use the credit cards and
23                    don’t pay the bills, it damages your credit. You may not find out that someone is
                      using your number until you’re turned down for credit, or you begin to get calls from
24                    unknown creditors demanding payment for items you never bought. Someone
                      illegally using your Social Security number and assuming your identity can cause a
25                    lot of problems. 17
26

27   16
        Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at: https://www.privacyaffairs.com/dark-
     web-price-index-2021/ (last accessed December 10, 2021).
28   17
        Social Security Administration, Identity Theft and Your Social Security Number, available at:
     https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed December 10, 2021).
                                                                 15
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 1           60.      Furthermore, trying to change or cancel a stolen Social Security number is no minor

 2 task. An individual cannot obtain a new Social Security number without significant paperwork and

 3
     evidence of actual misuse. In other words, preventive action to defend against the possibility of
 4
     misuse of a Social Security number is not permitted; an individual must show evidence of actual,
 5
     ongoing fraud activity to obtain a new number.
 6
             61.      Even then, a new Social Security number may not be effective, as “[t]he credit
 7

 8 bureaus and banks are able to link the new number very quickly to the old number, so all of that old

 9 bad information is quickly inherited into the new Social Security number.” 18
10           62.      This data, as one would expect, demands a much higher price on the black market.
11
     Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit card
12
     information, personally identifiable information and Social Security Numbers are worth more than
13
     10x on the black market.” 19
14

15           63.      PII can be used to distinguish, identify, or trace an individual’s identity, such as their

16 name and Social Security number. This can be accomplished alone, or in combination with other

17 personal or identifying information that is connected or linked to an individual, such as their

18 birthdate, birthplace, and mother’s maiden name. 20

19
           64.     Given the nature of Defendant’s Data Breach, as well as the long delay in
20
   notification to Class Members, it is foreseeable that the compromised PII has been or will be used
21
   by hackers and cybercriminals in a variety of devastating ways. Indeed, the cybercriminals who
22

23 possess Plaintiffs’ and Class Members’ PII can easily obtain Plaintiff’s and Class Members’ tax

24 returns or open fraudulent credit card accounts in Class Members’ names.

25
     18
             Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015),
26 http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-about-identity-
     theft (last accessed December 10, 2021).
27   19
               Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers,
     Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-for-
28   10x-price-of-stolen-credit-card-numbers.html (last accessed December 10, 2021).
     20
        See OFFICE OF MGMT. & BUDGET, OMB MEMORANDUM M-07-16 n. 1.
                                                               16
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 1           65.      Based on the foregoing, the information compromised in the Data Breach is

 2 significantly more valuable than the loss of, for example, credit card information in a retailer data

 3
     breach, because credit card victims can cancel or close credit and debit card accounts. 21 The
 4
     information compromised in this Data Breach is impossible to “close” and difficult, if not
 5
     impossible, to change (such as Social Security numbers).
 6
             66.      To date, Defendant has offered its consumers only two years of identity monitoring
 7

 8 services. The offered services are inadequate to protect Plaintiffs and Class Members from the

 9 threats they face for years to come, particularly in light of the PII at issue here.
10           67.      The injuries to Plaintiffs and Class Members were directly and proximately caused
11
     by Defendant’s failure to implement or maintain adequate data security measures for its current and
12
     former customers.
13
             Wells Fargo Failed to Comply with FTC Guidelines
14

15           68.      Federal and State governments have established security standards and issued

16 recommendations to lessen the risk of data breaches and the resulting harm to consumers and

17 financial institutions. The Federal Trade Commission (“FTC”) has issued numerous guides for

18 business highlighting the importance of reasonable data security practices. According to the FTC,
                                                                                    22
19 the need for data security should be factored into all business decision-making.

20           69.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

21 for Business, which established guidelines for fundamental data security principles and practices for
            23
22 business. The guidelines note businesses should protect the personal consumer and consumer

23 information that they keep, as well as properly dispose of personal information that is no longer

24

25   21
        See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds, Forbes, Mar 25,
     2020, available at: https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-security-number-costs-4-on-
26   the-dark-web-new-report-finds/?sh=6a44b6d513f1 (last accessed December 10, 2021).
     22
        Federal Trade Commission, Start With Security, available at: https://www.ftc.gov/system/files/documents/plain-
27   language/pdf0205-startwithsecurity.pdf (last accessed December 10, 2021).
     23
        Federal Trade Commission, Protecting Personal Information: A Guide for Business, available at:
28   https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-information-guide-business (last accessed
     December 10, 2021).
                                                               17
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 1 needed; encrypt information stored on computer networks; understand their network’s

 2 vulnerabilities; and implement policies to correct security problems.

 3              70.      The FTC recommends that companies verify that third-party service providers have

 4 implemented reasonable security measures. 24

 5              71.      The FTC recommends that businesses:

 6                       a.       Identify all connections to the computers where you store sensitive

 7                                information.

 8                       b.       Assess the vulnerability of each connection to commonly known or

 9                                reasonably foreseeable attacks.
10                       c.       Do not store sensitive consumer data on any computer with an internet
11                                connection unless it is essential for conducting their business.
12                       d.       Scan computers on their network to identify and profile the operating system
13                                and open network services. If services are not needed, they should be
14                                disabled to prevent hacks or other potential security problems. For example,
15                                if email service or an internet connection is not necessary on a certain
16                                computer, a business should consider closing the ports to those services on
17                                that computer to prevent unauthorized access to that machine.
18                       e.       Pay particular attention to the security of their web applications—the
19                                software used to give information to visitors to their websites and to retrieve
20                                information from them. Web applications may be particularly vulnerable to a
21                                variety of hack attacks
22                       f.       Use a firewall to protect their computers from hacker attacks while it is
23                                connected to a network, especially the internet.
24                       g.       Determine whether a border firewall should be installed where the business’s
25                                network connects to the internet. A border firewall separates the network
26                                from the internet and may prevent an attacker from gaining access to a
27

28
     24
          FTC, Start with Security, supra note 34.
                                                             18
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 1                          computer on the network where sensitive information is stored. Set access

 2                          controls—settings that determine which devices and traffic get through the

 3                          firewall—to allow only trusted devices with a legitimate business need to

 4                          access the network. Since the protection a firewall provides is only as

 5                          effective as its access controls, they should be reviewed periodically.

 6                  h.      Monitor incoming traffic for signs that someone is trying to hack in. Keep an

 7                          eye out for activity from new users, multiple log-in attempts from unknown

 8                          users or computers, and higher-than-average traffic at unusual times of the

 9                          day.
10                  i.      Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly
11                          large amounts of data being transmitted from their system to an unknown
12                          user. If large amounts of information are being transmitted from a business’
13                          network, the transmission should be investigated to make sure it is
14                          authorized.
15          72.     The FTC has brought enforcement actions against businesses for failing to protect
16 consumer and consumer data adequately and reasonably, treating the failure to employ reasonable

17 and appropriate measures to protect against unauthorized access to confidential consumer data as an

18 unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

19 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take to

20 meet their data security obligations.

21          73.     Because Class Members entrusted Wells Fargo with their PII, Wells Fargo had, and
22 has, a duty to the Class Members to keep their PII secure.

23          74.     Plaintiffs and the other Class Members reasonably expected that when they provide
24 PII to banks/financial service firms like, Wells Fargo, they will safeguard their PII.

25          75.     Wells Fargo was at all times fully aware of its obligation to protect the personal and
26 financial data of consumers, including Plaintiffs and members of the Class. Wells Fargo was also

27 aware of the significant repercussions if it failed to do so.

28          76.     Wells Fargo’s failure to employ reasonable and appropriate measures to protect

                                                       19
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 1 against unauthorized access to, and exfiltration of, confidential consumer data—including

 2 Plaintiffs’ and Class Members’ full names, Social Security numbers, and other highly sensitive and

 3 confidential information—constitutes an unfair act or practice prohibited by Section 5 of the FTC

 4 Act, 15 U.S.C. § 45.

 5          Defendant Failed to Comply with the Gramm-Leach-Bliley Act

 6          77.    Defendant runs bank and provides financial services for consumers and is therefore

 7 subject to the Gramm-Leach-Bliley Act (“GLBA”).

 8          78.    Defendant collects nonpublic personal information, as defined by 15 U.S.C. §

 9 6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1). Accordingly, during the relevant
10 time period Defendant was subject to the requirements of the GLBA, 15 U.S.C. §§ 6801.1 et seq.,

11 and is subject to numerous rules and regulations promulgated on the GLBA Statutes. The GLBA

12 Privacy Rule became effective on July 1, 2001. See 16 C.F.R. Part 313. Since the enactment of the

13 Dodd-Frank Act on July 21, 2010, the Consumer Financial Protection Bureau (“CFPB”) became

14 responsible for implementing the Privacy Rule. In December 2011, the CFPB restated the

15 implementing regulations in an interim final rule that established the Privacy of Consumer Financial

16 Information, Regulation P, 12 C.F.R. § 1016 (“Regulation P”), with the final version becoming

17 effective on October 28, 2014.

18          79.    Accordingly, Defendant’s conduct is governed by the Privacy Rule prior to
19 December 30, 2011, and by Regulation P after that date.

20          80.    Both the Privacy Rule and Regulation P require financial institutions to provide
21 customers with an initial and annual privacy notice. These privacy notices must be “clear and

22 conspicuous.”16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. “Clear and

23 conspicuous means that a notice is reasonably understandable and designed to call attention to the

24 nature and significance of the information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R. §

25 1016.3(b)(1). These privacy notices must “accurately reflect[] [the financial institution’s] privacy

26 policies and practices.” 16 C.F.R. § 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. They must

27 include specified elements, including the categories of nonpublic personal information the financial

28 institution collects and discloses, the categories of third parties to whom the financial institution

                                                     20
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 1 discloses the information, and the financial institution’s security and confidentiality policies and

 2 practices for nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6. These privacy

 3 notices must be provided “so that each consumer can reasonably be expected to receive actual

 4 notice.” 16 C.F.R. § 313.9; 12 C.F.R. § 1016.9. As alleged herein, Defendant violated the Privacy

 5 Rule and Regulation P.

 6
            81.     The Safeguards Rule, which implements Section 501(b) of the GLBA,15 U.S.C. §
 7
     6801(b), requires institutions to protect the security, confidentiality, and integrity of customer
 8

 9 information by developing a comprehensive written information security program that contains
10 reasonable administrative, technical, and physical safeguards, including: (1) designating one or

11 more employees to coordinate the information security program; (2) identifying reasonably

12
     foreseeable internal and external risks to the security, confidentiality, and integrity of customer
13
     information, and assessing the sufficiency of any safeguards in place to control those risks; (3)
14
     designing and implementing information safeguards to control the risks identified through risk
15
     assessment, and regularly testing or otherwise monitoring the effectiveness of the safeguards’ key
16

17 controls, systems, and procedures; (4) overseeing service providers and requiring them by contract

18 to protect the security and confidentiality of customer information; and (5) evaluating and adjusting

19 the information security program in light of the results of testing and monitoring, changes to the

20
     business operation, and other relevant circumstances. 16 C.F.R. §§ 314.3 and 314.4. As alleged
21
     herein, Defendant violated the Safeguard Rule.
22
            82.     Defendant failed to assess reasonably foreseeable risks to the security,
23

24 confidentiality, and integrity of PII in its custody or control.

25          83.     Defendant failed to design and implement information safeguards to control the risks

26 identified through risk assessment, and regularly test or otherwise monitor the effectiveness of the

27 safeguards’ key controls, systems, and procedures.

28
            84.     Defendant failed to evaluate and adjust its information security program in light of
                                                       21
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 1 the results of testing and monitoring, changes to the business operation, and other relevant

 2 circumstances.

 3
             Plaintiff Carey’s Experience
 4
             85.     Plaintiff was required to provide and did provide his PII to Defendant during his
 5
     banking relationship with Defendant.
 6
             86.     To date, Defendant has done next to nothing to adequately protect Plaintiff and Class
 7

 8 Members, or to compensate them for their injuries sustained in this Data Breach particularly given

 9 the fact that the unencrypted PII has already been exfiltrated and likely made available to anyone
10 wishing to download it.

11
             87.     Defendant’s data breach notice letter downplays the theft of Plaintiff’s and Class
12
     Members PII, when the facts demonstrate that the PII was deliberately exfiltrated in a criminal
13
     action. The fraud and identity monitoring services offered by Defendant are only for two years, and
14

15 Defendant places the burden squarely on Plaintiff and Class Members by requiring them to expend

16 time signing up for the service and addressing timely issues resulting from the Data Breach.

17           88.     Plaintiff and Class Members have been further damaged by the compromise of their
18
     PII.
19
             89.     Plaintiff’s PII was compromised in the Data Breach and was likely stolen and in the
20
     hands of cybercriminals who illegally accessed Defendant’s network for the specific purpose of
21
     targeting the PII.
22

23           90.     Indeed, Plaintiff Carey has noticed attempted phishing and/or fraud attempts increase

24 since the onset of the data breach.

25           91.     Plaintiff typically takes measures to protect his PII and is very careful about sharing
26
     his PII. Plaintiff has never knowingly transmitted unencrypted PII over the internet or other
27
     unsecured source.
28
             92.     Plaintiff stores any documents containing his PII in a safe and secure location, and he
                                                       22
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 1 diligently chooses unique usernames and passwords for his online accounts.

 2          93.     As a result of the Data Breach, Plaintiff has suffered a loss of time and has spent and
 3
     continues to spend a considerable amount of time on issues related to this Data Breach. In response
 4
     to the Data Breach, Plaintiff has spent significant time monitoring his accounts and credit score and
 5
     has sustained emotional distress in addition to his lost time. This is time that was lost and
 6

 7 unproductive and took away from other activities and duties.

 8          94.     Plaintiff also suffered actual injury in the form of damages to and diminution in the

 9 value of his PII—a form of intangible property that he entrusted to Defendant for the purpose of
10 obtaining services from Defendant, which was compromised in and as a result of the Data Breach.

11
            95.     Plaintiff suffered lost time, annoyance, interference, and inconvenience as a result of
12
     the Data Breach and has anxiety and increased concerns for the loss of his privacy.
13
            96.     Plaintiff has suffered imminent and impending injury arising from the substantially
14

15 increased risk of fraud, identity theft, and misuse resulting from his PII, especially his Social

16 Security Number, being placed in the hands of criminals.

17          97.     Defendant obtained and continues to maintain Plaintiff’s PII and has a continuing
18
     legal duty and obligation to protect that PII from unauthorized access and disclosure. Defendant
19
     required the PII from Plaintiff when he received services from Defendant. Plaintiff, however, would
20
     not have entrusted his PII to Defendant had he known that it would fail to maintain adequate data
21
     security. Plaintiff’s PII was compromised and disclosed as a result of the Data Breach.
22

23          98.     As a result of the Data Breach, Plaintiff anticipates spending considerable time and

24 money on an ongoing basis to try to mitigate and address harms caused by the Data Breach. As a

25 result of the Data Breach, Plaintiff is at a present risk and will continue to be at increased risk of

26
     identity theft and fraud for years to come.
27
            Plaintiff Ziegler’s Experience
28
            99.     Plaintiff was required to provide and did provide his PII to Defendant during his
                                                      23
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 1 banking relationship with Defendant.

 2           100.    To date, Defendant has done next to nothing to adequately protect Plaintiff and Class
 3
     Members, or to compensate them for their injuries sustained in this Data Breach particularly given
 4
     the fact that the unencrypted PII has already been exfiltrated and likely made available to anyone
 5
     wishing to download it.
 6
             101.    Defendant’s data breach notice letter downplays the theft of Plaintiff’s and Class
 7

 8 Members PII, when the facts demonstrate that the PII was deliberately exfiltrated in a criminal

 9 action. The fraud and identity monitoring services offered by Defendant are only for two years, and
10 Defendant places the burden squarely on Plaintiff and Class Members by requiring them to expend

11
     time signing up for the service and addressing timely issues resulting from the Data Breach.
12
             102.    Plaintiff has noticed an uptick in email spam and scam attempts since the Data
13
     Breach occurred.
14

15           103.    Plaintiff and Class Members have been further damaged by the compromise of their

16 PII.

17           104.    Plaintiff’s PII was compromised in the Data Breach and was likely stolen and in the
18
     hands of cybercriminals who illegally accessed Defendant’s network for the specific purpose of
19
     targeting the PII.
20
             105.    Plaintiff typically takes measures to protect his PII and is very careful about sharing
21
     his PII. Plaintiff has never knowingly transmitted unencrypted PII over the internet or other
22

23 unsecured source.

24           106.    Plaintiff stores any documents containing his PII in a safe and secure location, and he

25 diligently chooses unique usernames and passwords for his online accounts.

26
             107.    As a result of the Data Breach, Plaintiff has suffered a loss of time and has spent and
27
     continues to spend a considerable amount of time on issues related to this Data Breach. In response
28
     to the Data Breach, Plaintiff has spent significant time monitoring his accounts and credit score and
                                                       24
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 1 has sustained emotional distress in addition to his lost time. This is time that was lost and

 2 unproductive and took away from other activities and duties.

 3
            108.    Plaintiff also suffered actual injury in the form of damages to and diminution in the
 4
     value of his PII—a form of intangible property that he entrusted to Defendant for the purpose of
 5
     obtaining services from Defendant, which was compromised in and as a result of the Data Breach.
 6
            109.    Plaintiff suffered lost time, annoyance, interference, and inconvenience as a result of
 7

 8 the Data Breach and has anxiety and increased concerns for the loss of his privacy.

 9          110.    Plaintiff has suffered imminent and impending injury arising from the substantially
10 increased risk of fraud, identity theft, and misuse resulting from his PII, especially his Social

11
     Security Number, being placed in the hands of criminals.
12
            111.    Defendant obtained and continues to maintain Plaintiff’s PII and has a continuing
13
     legal duty and obligation to protect that PII from unauthorized access and disclosure. Defendant
14

15 required the PII from Plaintiff when he received services from Defendant. Plaintiff, however, would

16 not have entrusted his PII to Defendant had he known that it would fail to maintain adequate data

17 security. Plaintiff’s PII was compromised and disclosed as a result of the Data Breach.

18
            112.    As a result of the Data Breach, Plaintiff anticipates spending considerable time and
19
     money on an ongoing basis to try to mitigate and address harms caused by the Data Breach. As a
20
     result of the Data Breach, Plaintiff is at a present risk and will continue to be at increased risk of
21
     identity theft and fraud for years to come.
22

23                                        CLASS ALLEGATIONS

24          113.    Plaintiffs bring this suit on behalf of themselves and a class of similarly situated

25 individuals under Federal Rule of Civil Procedure 23, which is preliminarily defined as:

26
            All persons Defendant has identified as being among those individuals impacted by
27          the Data Breach, including all who were sent a notice of the Data Breach (the
            “Class”).
28

                                                      25
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 1            114.   Plaintiff Zeigler also seeks to represent a California Subclass defined as:

 2            All persons who reside in California and who Defendant has identified as being
              among those individuals impacted by the Data Breach, including all who were sent
 3            a notice of the Data Breach (the “Subclass”).
 4            115.   Excluded from the Classes are the following individuals and/or entities: Defendant
 5
     and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which
 6
     Defendant has a controlling interest; all individuals who make a timely election to be excluded from
 7
     this proceeding using the correct protocol for opting out; and all judges assigned to hear any aspect
 8

 9 of this litigation, as well as their immediate family members.
10            116.   Numerosity. The Class Members are so numerous that joinder of all members is

11 impracticable. Though the exact number and identities of Class Members are unknown at this time,

12 public news reports indicate that hundreds, if not thousands, of individuals had their PII

13
     compromised in this Data Breach. The identities of Class Members are ascertainable through
14
     Defendant’s records, Class Members’ records, publication notice, self-identification, and other
15
     means.
16

17            117.   Commonality. There are questions of law and fact common to the Classes, which

18 predominate over any questions affecting only individual Class Members. These common questions

19 of law and fact include, without limitation:

20
                         i. Whether Defendant unlawfully used, maintained, lost, or disclosed Plaintiffs’
21
                            and Class Members’ PII;
22
                        ii. Whether Defendant failed to implement and maintain reasonable security
23
                            procedures and practices appropriate to the nature and scope of the
24

25                          information compromised in the Data Breach;

26                      iii. Whether Defendant’s data security systems prior to and during the Data

27                          Breach complied with applicable data security laws and regulations;
28
                        iv. Whether Defendant’s data security systems prior to and during the Data
                                                        26
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 1                          Breach were consistent with industry standards;

 2                      v. Whether Defendant owed a duty to Class Members to safeguard their PII;
 3
                        vi. Whether Defendant breached its duty to Class Members to safeguard their
 4
                            PII;
 5
                       vii. Whether Class Members’ unencrypted PII was exfiltrated in the Data Breach;
 6
                      viii. Whether Defendant knew or should have known that its data security systems
 7

 8                          and monitoring processes were deficient;

 9                      ix. Whether Plaintiffs and Class Members suffered legally cognizable damages
10                          as a result of Defendant’s misconduct;
11
                        x. Whether Defendant’s conduct was negligent;
12
                        xi. Whether Defendant’s conduct was per se negligent, and;
13
                       xii. Whether Plaintiffs and Class Members are entitled to damages, civil
14

15                          penalties, punitive damages, and/or injunctive relief.

16          118.    Typicality. Plaintiffs’ claims are typical of those of other Class Members because

17 Plaintiffs’ PII, like that of every other Class member, was compromised in the Data Breach.

18
            119.    Adequacy of Representation. Plaintiffs will fairly and adequately represent and
19
     protect the interests of the Members of the Class. Plaintiffs’ Counsel is competent and experienced
20
     in litigating Class actions, including data privacy litigation of this kind.
21
            120.    Predominance. Defendant has engaged in a common course of conduct toward
22

23 Plaintiffs and Class Members, in that all the Plaintiffs’ and Class Members’ data was stored on the

24 same computer systems and unlawfully accessed in the same way. The common issues arising from

25 Defendant’s conduct affecting Class Members set out above predominate over any individualized

26
     issues. Adjudication of these common issues in a single action has important and desirable
27
     advantages of judicial economy.
28
            121.    Superiority. A Class action is superior to other available methods for the fair and
                                                         27
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 1 efficient adjudication of the controversy. Class treatment of common questions of law and fact is

 2 superior to multiple individual actions or piecemeal litigation. Absent a Class action, most Class

 3
     Members would likely find that the cost of litigating their individual claims is prohibitively high
 4
     and would therefore have no effective remedy. The prosecution of separate actions by individual
 5
     Class Members would create a risk of inconsistent or varying adjudications with respect to
 6

 7 individual Class Members, which would establish incompatible standards of conduct for Defendant.

 8 In contrast, the conduct of this action as a Class action presents far fewer management difficulties,

 9 conserves judicial resources and the parties’ resources, and protects the rights of each Class
10 member.

11
            122.     Defendant has acted on grounds that apply generally to the Classes as a whole, so
12
     that Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a
13
     Class-wide basis.
14

15          123.    Likewise, particular issues under Federal Rule 23(c)(4) are appropriate for

16 certification because such claims present only particular, common issues, the resolution of which

17 would advance the disposition of this matter and the parties’ interests therein. Such particular issues

18
     include, but are not limited to:
19
                          i. Whether Defendant owed a legal duty to Plaintiff and the Classes to exercise
20
                             due care in collecting, storing, and safeguarding their PII;
21
                         ii. Whether Defendant’s security measures to protect their data systems were
22

23                           reasonable in light of best practices recommended by data security experts;

24                       iii. Whether Defendant’s failure to institute adequate protective security

25                           measures amounted to negligence;
26
                         iv. Whether Defendant failed to take commercially reasonable steps to safeguard
27
                             consumer PII; and
28
                         v. Whether adherence to FTC data security recommendations, and measures
                                                        28
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 1                         recommended by data security experts would have reasonably prevented the

 2                         data breach.
 3
            124.    Finally, all members of the proposed Classes are readily ascertainable. Defendant
 4
     has access to Class Members’ names and addresses affected by the Data Breach. Class Members
 5
     have already been preliminarily identified and sent notice of the Data Breach by Defendant.
 6
                                          CAUSES OF ACTION
 7

 8                                    FIRST CAUSE OF ACTION
                                            NEGLIGENCE
 9                                (On behalf of Plaintiffs and the Class)

10          125.   Plaintiffs re-allege and incorporate by reference herein all of the allegations
11 contained in the paragraphs above and below.

12
            126.   Plaintiffs bring this Count on behalf of themselves and the nationwide Class.
13
            127.   Defendant knowingly collected, came into possession of, and maintained Plaintiffs’
14
     and Class Members’ PII, and had a duty to exercise reasonable care in safeguarding, securing, and
15

16 protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

17 unauthorized parties.

18          128.   Plaintiffs and Class Members had a special relationship in that Defendant’s
19 collection and maintenance of Plaintiffs’ and Class Members’ PII was intended to benefit the Class,

20
   the resulting harm from the Data Breach was foreseeable, Plaintiffs injuries resulting from
21
   Defendant’s failure to safeguard their PII are actual, immediate, and certain and Defendant’s failure
22
   to safeguard PII is morally unjustifiable and offends public policy.
23

24          129.   Defendant had a duty under common law to have procedures in place to detect and

25 prevent the loss or unauthorized dissemination of Plaintiffs’ and Class Members’ PII.

26          130.   Defendant had full knowledge of the sensitivity of the PII and the types of harm that
27
     Plaintiffs and Class Members could and would suffer if the PII were wrongfully disclosed.
28

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 1          131.    By assuming the responsibility to collect and store this data, and in fact doing so, and

 2 sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable means to

 3
     secure and safeguard their computer property—and Class Members’ PII held within it—to prevent
 4
     disclosure of the information, and to safeguard the information from theft. Defendant’s duty
 5
     included a responsibility to implement processes by which they could detect a breach of its security
 6

 7 systems in a reasonably expeditious period of time and to give prompt notice to those affected in the

 8 case of a data breach.

 9          132.    The existence of Defendant’s duty of care with respect to PII is consistent with
10 California’s statutorily recognized public policy of preventing identity theft and protecting the

11
     confidentiality of PII.
12
            133.    Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or
13
     affecting commerce” including, as interpreted and enforced by the FTC, the unfair act or practice by
14

15 Defendant of failing to use reasonable measures to protect PII. Various FTC publications and orders

16 also form the basis of Defendant’s duty.

17          134.    Defendant violated Section 5 of the FTC Act (and similar state statutes) by failing to
18
     use reasonable measures to protect PII and not complying with industry standards. Defendant’s
19
     conduct was particularly unreasonable given the nature and amount of PII obtained and stored and
20
     the foreseeable consequences of a data breach on Defendant’s systems.
21
            135.    Defendant’s duty to use reasonable security measures also arose under the GLBA,
22

23 under which Defendant was required to protect the security, confidentiality, and integrity of

24 customer information by developing a comprehensive written information security program that

25 contains reasonable administrative, technical, and physical safeguards.

26
            136.    Defendant’s violation of Section 5 of the FTC Act (and similar state statutes)
27
     constitutes negligence per se.
28

                                                       30
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 1           137.   Defendant’s violation of the GLBA and its Safeguards Rule constitutes negligence

 2 per se.

 3
             138.   Class members are consumers within the class of persons Section 5 of the FTC Act
 4
     (and similar state statutes), and the GLBA, were intended to protect.
 5
             139.   Moreover, the harm that has occurred is the type of harm the FTC Act (and similar
 6

 7 state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty enforcement

 8 actions against businesses which, as a result of their failure to employ reasonable data security

 9 measures and avoid unfair and deceptive practices, caused the same harm suffered by Plaintiffs and
10 Class Members. The GLBA, with its Safeguards Rule, was similarly intended.

11
             140.   Defendant, through its actions and/or omissions, unlawfully breached its duty to
12
     Plaintiffs and Class members by failing to exercise reasonable care in protecting and safeguarding
13
     Plaintiffs’ and Class Members’ PII within Defendant’s possession.
14

15           141.   Defendant, through its actions and/or omissions, unlawfully breached its duty to

16 Plaintiffs and Class members by failing to have appropriate procedures in place to detect and

17 prevent dissemination of Plaintiffs’ and Class Members’ PII.

18
             142.   Defendant, through its actions and/or omissions, unlawfully breached its duty to
19
     timely disclose to Plaintiffs and Class Members that the PII within Defendant’s possession might
20
     have been compromised and precisely the type of information compromised.
21
             143.   Defendant’s breach of duties owed to Plaintiffs and Class Members caused
22

23 Plaintiffs’ and Class Members’ PII to be compromised.

24           144.   As a result of Defendant’s ongoing failure to notify Plaintiffs and Class Members

25 regarding the type of PII has been compromised, Plaintiffs and Class Members are unable to take

26
     the necessary precautions to mitigate damages by preventing future fraud.
27

28

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 1           145.   Defendant’s breaches of duty caused Plaintiffs and Class Members to suffer from

 2 identity theft, loss of time and money to monitor their finances for fraud, and loss of control over

 3
     their PII.
 4
             146.   As a result of Defendant’s negligence and breach of duties, Plaintiffs and Class
 5
     Members are in danger of imminent harm in that their PII, which is still in the possession of third
 6

 7 parties, will be used for fraudulent purposes.

 8           147.   As a direct and proximate result of Defendant’s negligence, Plaintiffs and Class

 9 Members have been injured and are entitled to damages in an amount to be proven at trial. Such
10 injuries include one or more of the following: ongoing, imminent, certainly impending threat of

11
     identity theft crimes, fraud, and other misuse, resulting in monetary loss and economic harm; actual
12
     identity theft crimes, fraud, and other misuse, resulting in monetary loss and economic harm; loss of
13
     the value of their privacy and the confidentiality of the stolen PII; illegal sale of the compromised
14

15 PII on the black market; mitigation expenses and time spent on credit monitoring, identity theft

16 insurance, and credit freezes and unfreezes; time spent in response to the Data Breach reviewing

17 bank statements, credit card statements, and credit reports; expenses and time spent initiating fraud

18
     alerts; decreased credit scores and ratings; lost work time; lost value of the PII; lost benefit of their
19
     bargains and overcharges for services; and other economic and non-economic harm.
20
             148.   Plaintiffs seek the award of actual damages on behalf of themselves and the Class.
21
             149.   In failing to secure Plaintiffs’ and Class Members’ PII and promptly notifying them
22

23 of the Data Breach, Defendant is guilty of oppression, fraud, or malice, in that Defendant acted or

24 failed to act with a willful and conscious disregard of Plaintiffs’ and Class Members’ rights.

25 Plaintiffs, therefore, in addition to seeking actual damages, seeks punitive damages on behalf of

26
     themselves and the Class.
27

28

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 1          150.    Plaintiffs seeks injunctive relief on behalf of the Class in the form of an order

 2 compelling Defendant to institute appropriate data collection and safeguarding methods and policies

 3
     with regard to consumer information.
 4
                                SECOND CAUSE OF ACTION
 5                 VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
                              (On behalf of Plaintiffs and the Class)
 6
            151.    Plaintiffs reallege and incorporate by reference all proceeding paragraphs as if fully
 7

 8 set forth herein.

 9          152.    Plaintiffs bring this Count on behalf of themselves and the nationwide Class.

10          153.    Defendant maintains its principal place of business and corporate offices in San
11 Fransisco, California and the acts and omissions with respect to the practices alleged herein were

12
     directed and emanated from California.
13
            154.    The UCL prohibits any “unlawful,” “fraudulent” or “unfair” business act or practice
14
     and any false or misleading advertising, as those terms are defined by the UCL and relevant case
15

16 law. By virtue of the above-described wrongful actions, inaction, omissions, and want of ordinary

17 care that directly and proximately caused the Data Breach, Defendant engaged in unlawful, unfair

18 and fraudulent practices within the meaning, and in violation of, the UCL.

19
            155.    In the course of conducting their business, Defendant committed “unlawful” business
20
     practices by, inter alia, knowingly failing to design, adopt, implement, control, direct, oversee,
21
     manage, monitor and audit appropriate data security processes, controls, policies, procedures,
22
     protocols, and software and hardware systems to safeguard and protect Plaintiffs and Class
23

24 members’ PII, and by violating the statutory and common law alleged herein, including, inter alia,

25 the FTC Act, GLBA, California Consumer Privacy Act of 2018 (Cal. Civ. Code §§ 1798.100, et

26 seq.) and Article I, Section 1 of the California Constitution (California’s constitutional right to

27
     privacy) and Civil Code § 1798.81.5. Plaintiffs and Class members reserve the right to allege other
28
     violations of law by Defendant constituting other unlawful business acts or practices. Defendant’s
                                                      33
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 1 above-described wrongful actions, inaction, omissions, and want of ordinary care are ongoing and

 2 continue to this date.

 3
            156.    Defendant also violated the UCL’s unlawful prong by breaching contractual
 4
     obligations created by their Privacy Policies and by knowingly and willfully or, in the alternative,
 5
     negligently and materially violating Cal. Bus. & Prof. Code § 22576, which prohibits a commercial
 6

 7 website operator from “knowingly and willfully” or “negligently and materially” failing to comply

 8 with the provisions of their posted privacy policy. Plaintiffs and Class members suffered injury in

 9 fact and lost money or property as a result of Defendant’s violations of their Privacy Policies.
10          157.    Defendant also violated the UCL by failing to timely notify Plaintiffs and Class
11
     members pursuant to Civil Code § 1798.82(a) regarding the unauthorized access and disclosure of
12
     their PII. If Plaintiff and Class members had been notified in an appropriate fashion, they could
13
     have taken precautions to safeguard and protect their PII and identities.
14

15          158.    Defendant’s above-described wrongful actions, inaction, omissions, want of ordinary

16 care, misrepresentations, practices, and non-disclosures also constitute “unfair” business acts and

17 practices in violation of the UCL in that Defendant’s wrongful conduct is substantially injurious to

18
     consumers, offends legislatively-declared public policy, and is immoral, unethical, oppressive, and
19
     unscrupulous. Defendant’s practices are also contrary to legislatively declared and public policies
20
     that seek to protect PII and ensure that entities who solicit or are entrusted with personal data utilize
21
     appropriate security measures, as reflected by laws such as the CCPA, Article I, Section 1 of the
22

23 California Constitution, and the FTC Act (15 U.S.C. § 45). The gravity of Defendant’s wrongful

24 conduct outweighs any alleged benefits attributable to such conduct. There were reasonably

25 available alternatives to further Defendant’s legitimate business interests other than engaging in the

26
     above-described wrongful conduct.
27

28

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 1          159.    The UCL also prohibits any “fraudulent business act or practice.” Defendant’s

 2 above-described claims, nondisclosures and misleading statements were false, misleading and likely

 3
     to deceive the consuming public in violation of the UCL.
 4
            160.    As a direct and proximate result of Defendant’s above-described wrongful actions,
 5
     inaction, omissions, and want of ordinary care that directly and proximately caused the Data Breach
 6

 7 and their violations of the UCL, Plaintiffs and Class Members have suffered injury in fact and lost

 8 money or property as a result of Defendant’s unfair and deceptive conduct. Such injury includes

 9 paying for a certain level of security for their PII but receiving a lower level, paying more for
10 Defendant’s products and services than they otherwise would have had they known Defendant was

11
     not providing the reasonable security represented in their Privacy Policy and as in conformance
12
     with their legal obligations. Defendant’s security practices have economic value in that reasonable
13
     security practices reduce the risk of theft of customer’s PII.
14

15          161.    Plaintiffs and Class members have also suffered (and will continue to suffer)

16 economic damages and other injury and actual harm in the form of, inter alia, (i) an imminent,

17 immediate and the continuing increased risk of identity theft and identity fraud – risks justifying

18
     expenditures for protective and remedial services for which they are entitled to compensation,
19
     (ii) invasion of privacy, (iii) breach of the confidentiality of their PII, (iv) statutory damages under
20
     the CCPA, (v) deprivation of the value of their PII for which there is a well-established national and
21
     international market, and/or (vi) the financial and temporal cost of monitoring their credit,
22

23 monitoring financial accounts, and mitigating damages.

24          162.    Plaintiffs and Class members suffered injury in fact and lost money or property as a

25 result of Defendant’s unfair and unlawful acts in that a portion of the money Plaintiffs and Class

26
     members paid for Defendant’s services went to fulfill the contractual obligations set forth in
27
     Defendant’s Privacy Policy, including maintaining the security of their PII, and Defendant’s legal
28
     obligations and Defendant failed to fulfill those obligations.
                                                        35
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 1          163.    Plaintiffs and Class members suffered injury in fact and lost money or property as a

 2 result of Defendant’s violations described herein in that they entrusted their PII to Defendant as a

 3
     necessary condition of receiving services and they received something of lesser value and the value
 4
     of their PII was diminished.
 5
            164.    Unless restrained and enjoined, Defendant will continue to engage in the above-
 6

 7 described wrongful conduct and more data breaches will occur. Plaintiffs, therefore, on behalf of

 8 themselves, Class members, and the general public, also seek restitution and an injunction,

 9 including public injunctive relief prohibiting Defendant from continuing such wrongful conduct,
10 and requiring Defendant to modify their corporate culture and design, adopt, implement, control,

11
     direct, oversee, manage, monitor and audit appropriate data security processes, controls, policies,
12
     procedures protocols, and software and hardware systems to safeguard and protect the PII entrusted
13
     to it, as well as all other relief the Court deems appropriate, consistent with Bus. & Prof. Code
14

15 § 17203.

16                                  THIRD CAUSE OF ACTION
                   VIOLATIONS OF CALIFORNIA’S CONSUMER PRIVACY ACT
17                    (On behalf of Plaintiff Zeigler and the California Subclass)

18          165.    Plaintiff Zeigler (“Plaintiff” for the purposes of this Count) realleges and
19
     incorporates by reference all proceeding paragraphs as if fully set forth herein.
20
            166.    Plaintiff brings this Count on his own behalf and that of the California Subclass.
21
            167.    As more personal information about consumers is collected by businesses,
22
     consumers’ ability to properly protect and safeguard their privacy has decreased. Consumers entrust
23

24 businesses with their personal information on the understanding that businesses will adequately

25 protect it from unauthorized access and disclosure. The California Legislature explained: “The

26 unauthorized disclosure of personal information and the loss of privacy can have devasting effects

27
     for individuals, ranging from financial fraud, identity theft, and unnecessary costs to personal time
28

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 1 and finances, to destruction of property, harassment, reputational damage, emotional stress, and

 2 even potential physical harm.” 25

 3
            168.    As a result, in 2018, the California Legislature passed the CCPA, giving consumers
 4
     broad protections and rights intended to safeguard their personal information. Among other things,
 5
     the CCPA imposes an affirmative duty on businesses that maintain personal information about
 6
     California residents to implement and maintain reasonable security procedures and practices that are
 7

 8 appropriate to the nature of the information collected. Defendant failed to implement such

 9 procedures which resulted in the Data Breach.
10          169.    Section 1798.150(a)(1) of the CCPA provides: “Any consumer whose nonencrypted
11
     or nonredacted personal information, as defined [by the CCPA] is subject to an unauthorized access
12
     and exfiltration, theft, or disclosure as a result of the business’ violation of the duty to implement
13
     and maintain reasonable security procedures and practices appropriate to the nature of the
14

15 information to protect the personal information may institute a civil action for” statutory or actual

16 damages, injunctive or declaratory relief, and any other relief the court deems proper.

17          170.    Plaintiffs and the Class members are “consumer[s]” as defined by Civ. Code
18
     § 1798.140(g) because they are “natural person[s] who [are] California resident[s], as defined in
19
     Section 17014 of Title 18 of the California Code of Regulations, as that section read on September
20
     1, 2017.”
21
            171.    Defendant is a “business” as defined by Civ. Code § 1798.140(c) because Defendant:
22

23                              i. is a “sole proprietorship, partnership, limited liability company,

24                                 corporation, association, or other legal entity that is organized or

25                                 operated for the profit or financial benefit of its shareholders or

26                                 other owners”;

27

28   25
            California Consumer Privacy Act (CCPA) Compliance, https://buyergenomics.com/ccpa-
     complience/.
                                                      37
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 1                            ii. “collects consumers’ personal information, or on the behalf of

 2                                which is collected and that alone, or jointly with others,

 3                                determines the purposes and means of the processing of

 4                                consumers’ personal information”;

 5                           iii. does business in California; and

 6                           iv. has annual gross revenues in excess of $25 million; annually buys,

 7                                receives for the business’ commercial purposes, sells or shares for

 8                                commercial purposes, alone or in combination, the personal

 9                                information of 50,000 or more consumers, households, or devices;
10                                or derives 50 percent or more of its annual revenues from selling
11                                consumers’ personal information.
12           172.   The PII taken in the Data Breach is personal information as defined by Civil Code

13 § 1798.81.5(d)(1)(A) because it contains at least Plaintiffs’ and the Class members’ unencrypted

14 names, addresses, phone numbers, email addresses, dates of birth, and Social Security numbers

15           173.   Plaintiffs and the Class’ unencrypted PII were subject to unauthorized access and

16 exfiltration, theft, or disclosure because their PII was wrongfully taken, accessed, and viewed by

17 unauthorized third parties.

18           174.   The Data Breach occurred as a result of Defendant’s failure to implement and

19 maintain reasonable security procedures and practices appropriate to the nature of the information to

20 protect Plaintiffs’ and the Class members’ PII. Defendant failed to implement reasonable security

21 procedures to prevent an attack on their server or network, including its email system, by hackers

22 and to prevent unauthorized access of Plaintiffs and the Class members’ PII as a result of this

23 attack.

24           175.   Plaintiff Zeigler provided Defendant with written notice of its violations of the

25 CCPA, pursuant to Civil Code § 1798.150(b)(1). As Defendant has not cured the violations or

26 provided a written response within 30 days from its receipt thereof, Plaintiff seeks all relief

27 available under the CCPA including damages to be measured as the greater of actual damages or

28

                                                     38
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 1 statutory damages in an amount up to seven hundred and fifty dollars ($750) per consumer per

 2 incident. See Cal. Civ. Code § 1798.150(a)(1)(A) & (b).

 3          176.   As a result of Defendant’s failure to implement and maintain reasonable security

 4 procedures and practices that resulted in the Data Breach, including its failure to encrypt the PII,

 5 Plaintiff seeks injunctive relief, including public injunctive relief, declaratory relief, and any other

 6 relief as deemed appropriate by the Court.

 7
                                           PRAYER FOR RELIEF
 8
            WHEREFORE, Plaintiffs, individually and on behalf of the Classes defined herein, pray for
 9
10 judgment as against Defendant as follows:

11          A. For an Order certifying this action as a Class action and appointing Plaintiffs and

12              their counsel to represent the Classes;
13          B. For equitable relief enjoining Defendant from engaging in the wrongful conduct
14
                complained of herein pertaining to the misuse and/or disclosure of Plaintiffs’ and
15
                Class Members’ PII, and from refusing to issue prompt, complete and accurate
16
                disclosures to Plaintiffs and Class members;
17

18          C. For equitable relief compelling Defendant to utilize appropriate methods and

19              policies with respect to consumer data collection, storage, and safety, and to

20              disclose with specificity the type of PII compromised during the Breach;
21
            D. For equitable relief requiring restitution and disgorgement of the revenues
22
                wrongfully retained as a result of Defendant’s wrongful conduct;
23
            E. Ordering Defendant to pay for not less than three years of credit monitoring
24
                services for Plaintiffs and the Classes;
25

26          F. For an award of actual damages, compensatory damages, statutory damages and

27              statutory penalties, in an amount to be determined, as allowable by law;
28          G. For an award of punitive damages, as allowable by law;
                                                          39
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 1        H. For an award of attorneys’ fees and costs, and any other expense, including

 2           expert witness fees;
 3
          I. Pre- and post-judgment interest on any amounts awarded and,
 4
          J. All such other and further relief as this court may deem just and proper.
 5
                                        JURY TRIAL DEMAND
 6
          Plaintiffs hereby demand a trial by jury.
 7

 8 DATED: August 31, 2022               Respectfully submitted,

 9                                      /s/ John Nelson
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